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                Exhibit A
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                              Nos. 24-6256, 24-6274

                                      IN THE
                United States Court of Appeals
                     for the Ninth Circuit

                                EPIC GAMES, INC.,
                                         Plaintiff-Appellee,
                                        v.
                               GOOGLE LLC, et al.,
                                         Defendants-Appellants.

                On Appeal from the United States District Court
                    for the Northern District of California
                 Nos. 3:20-cv-05671-JD, 3:21-md-02981-JD
                             Hon. James Donato

     EMERGENCY MOTION UNDER CIRCUIT RULE 27-3 FOR
ADMINISTRATIVE STAY OR IN THE ALTERNATIVE FOR EXPEDITED
  BRIEFING ON GOOGLE’S EMERGENCY MOTION FOR PARTIAL
     STAY OF PERMANENT INJUNCTION PENDING APPEAL
            [RELIEF NEEDED BY OCTOBER 21, 2024]

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October 16, 2024                             Counsel for Defendants-Appellants

                   (Additional Counsel Listed on Signature Page)
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I.    Google Seeks An Administrative Stay of the District Court’s Permanent
      Injunction To Allow Time To Fully Brief A Motion For A Stay Pending
      Appeal.
      The District Court entered a permanent injunction in this antitrust case on

October 7, 2024, requiring sweeping nationwide changes to Google’s app store, the

Google Play store. The court set the effective date for most of the injunction’s

prohibitions on November 1, 2024—just over three weeks later. This does not even

provide time to fully brief a motion to stay pending appeal, and is a fraction of the

time required for new, compliant policies and a secure rollout of the changes

mandated by the injunction.1

      Within four days, Google asked the District Court to administratively stay the

November 1 effective date so that Google could brief a motion to stay the injunction

pending appeal in the District Court and, if necessary, this Court, consistent with

Federal Rule of Appellate Procedure 8(a). See Dkt. 1021, Case 3:21-md-02981-JD.

Google simultaneously filed its motion for a stay of the injunction pending appeal

and supporting declarations. See Dkt. 1020, 1020-1–3, Case 3:21-md-02981-JD.




1      For reference, in Epic’s parallel action against Apple, the district court entered
a limited injunction that required a tiny fraction of the overhaul to the Play store
ordered here and gave Apple 90 days to come into compliance and seek a stay of the
injunction pending appeal. Epic Games, Inc. v. Apple, Inc., No. 4:20-cv-05640-
YGR, Dkt. 813, at 1.


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      In its administrative stay request to the District Court, Google explained that

the November 1 effective date for the injunction would make it impossible to fully

brief a stay of the injunction pending appeal in that court and, if necessary, this Court

before the effective date, and that granting an administrative stay would allow for

briefing on a stay pending appeal to proceed in an orderly fashion in both courts.

      Google expressly requested that the District Court grant the administrative

stay by today, Wednesday, October 16, 2024 at noon Pacific time, and explained

that if the District Court did not do so, it would be impracticable for Google to

continue seeking relief from the District Court leaving time to seek relief from the

Ninth Circuit before the compliance deadline if the District Court denied relief. As

of today, there are only 16 days until the majority of the provisions of the injunction

take effect. Google thus explained that it would proceed to seek a stay pending

appeal from the Ninth Circuit absent an administrative stay by noon Pacific time

today. Epic took no position on Google’s request for a ruling on the administrative

stay on this timeline.

      The District Court did not rule on Google’s request for an administrative stay

of the November 1 effective date. It instead has set an in-person hearing on the

motion for Friday, October 18—two days after when Google had stated it would

need to seek relief in this Court absent a ruling, in order to ensure this Court had

time to consider the request.


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      As it indicated it would, Google is filing this motion for an administrative stay

(or, alternatively, expedited briefing, see infra) with this Court so that there will be

sufficient time for the parties to brief and for this Court to address Google’s motion

for a stay pending appeal before the injunction takes effect. Should the District Court

grant Google’s requested administrative stay at the hearing it has ordered on Friday,

October 18, Google will inform this Court immediately. Google is requesting that

this Court act on Google’s motion for an administrative stay or, alternatively,

expedited briefing by Monday, October 21, 2024.

      For these reasons, in light of the upcoming November 1 deadline for

compliance with most of the injunction’s provisions, and to give this Court sufficient

time to consider these issues, Google respectfully requests that the Court issue an

administrative stay “to preserve the status quo until the substantive motion for a stay

pending appeal can be considered.” Doe #1 v. Trump, 944 F.3d 1222, 1223 (9th Cir.

2019).

II.   Alternatively, Google Requests Expedited Briefing on Its Motion for a
      Stay Pending Appeal.
      Alternatively, Google moves pursuant to Rule 27-12 of the Federal Rules of

Appellate Procedure for the Ninth Circuit for expedited briefing on its emergency

stay motion. Good cause exists for expedited briefing in this matter. Under these

circumstances, expedited briefing is the only way for this Court to rule on the

emergency stay motion before the November 1 effective date. See Fed. R. App. P.


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27(a)(3)-(4) (requiring at least 17 days to fully brief a motion under the ordinary

timeline).

      Google respectfully requests the following briefing schedule to allow for a

decision on Google’s emergency stay motion by October 31, 2024:

      Response to Motion to Stay:      Wednesday, October 23, 2024

      Reply to Motion to Stay:         Monday, October 28, 2024

The transcripts in this matter have already been prepared and any documents that

are necessary to decide the merits of Google’s motion for partial stay have been

attached as exhibits thereto.

                                EPIC’S POSITION

      Counsel for Epic stated Epic’s position as follows: “Epic does not consent

to an administrative stay of the effectiveness of the injunction. Epic would consent

to Google’s alternative request for expedited briefing, except Epic believes that

Google’s reply papers should be due on Friday, October 25.”

                                  CONCLUSION

      Google respectfully requests an administrative stay pending this Court’s

decision on Google’s contemporaneously filed emergency motion for a partial stay

of the District Court’s permanent injunction pending appeal. In the alternative,

Google respectfully requests expedited briefing on the stay motion according to the

proposed schedule that Google set out above.


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      Google respectfully requests a ruling on this motion no later than Monday,

October 21, 2024 at 5 p.m. to ensure that the parties have adequate notice

regarding the briefing schedule that will apply to Google’s stay motion.


Dated: October 16, 2024                      Respectfully submitted,

                                          /s/ Neal Kumar Katyal_________

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                       CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitations of Federal Rule of

Appellate Procedure 27(d)(2)(A) and 9th Circuit Rule 27-1 because it contains 974

words, excluding the parts of the motion exempted by Federal Rule of Appellate

Procedure 27(a)(2)(B).

      This motion complies with the typeface and typestyle requirements of Federal

Rule of Appellate Procedure 27(d)(1)(E) because it has been prepared in a

proportionally spaced typeface using Microsoft Word for Office 365 in Times New

Roman 14-point font.

                                           /s/ Neal Kumar Katyal
                                           Neal Kumar Katyal
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                       CERTIFICATE OF SERVICE

      I certify that on October 16, 2024, the foregoing was electronically filed

through this Court’s ACMS system, which will send a notice of filing to all

registered users.


                                           /s/ Neal Kumar Katyal
                                           Neal Kumar Katyal
